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                    VIOLATION OF SUPERVISION PROCEEDINGS MINUTE SHEET

                           Time In/Out:        11:32am –           Court Time:        19 minutes
                                               11:51am

                                               Date:           August 22, 2019
                           CR 09-3366
               Cr. No.                         USA v.          Derek Chavez
                           WJ

                     The Honorable             Chief Judge William P. Johnson

Clerk:                     R. Garcia                           Court Reporter:             M. Loughran

Defendant:                 Present                             Defendant’s Counsel:        Martin Lopez III

AUSA:                      Paul Mysliwiec                      Probation Officer:          Erick Newton

VSR Held:                  Albuquerque                         Interpreter:                N/A

                          ADMISSION OR DENIAL OF PETITION’S ALLEGATIONS

X        Court questions Defendant regarding voluntary nature of admission.
X        Court finds Defendant competent to proceed
X        Court advises Defendant of his/her rights
X        Court advises / confirms Defendant is aware of charges and possible penalty:
X        Defendant ADMITED to the violation that he failure to refrain from use of controlled substance(s) at hearing held on
         1/28/19, and the following additional violations today: failed to follow directions of Probation; failed to complete
         substance abuse program.
         Proceed to sentencing
X
         Violation Report WAIVED / NOT WAIVED
         Other:

                                                   SENTENCE IMPOSED
Supervision imposed:                           Imprisonment:       6 months           Supervised       None
                                                                                      Release:

                                                  SPECIAL CONDITIONS




                                                           OTHER
X        ADVISED OF Appeal Rights

X        HELD IN CUSTODY

         Recommended place of incarceration:

NOTES:         The Court notes the Defendant previously admitted to failure to refrain from use of
               controlled substance(s) at hearing held on 1/28/19.
               Defendant proceeds to admit to violations contained in Amended Petition for Revocation.
               PO states basis for a recommendation of a sentence at the high end of the guideline range
               without any term of supervision to follow.
               Mr. Mysliwiec concurs with PO’s recommendation.
               Mr. Lopez has no objection to not imposing any further supervision.
               Defendant addresses the Court.
               Mr. Lopez addresses the Court on behalf of his client; requests a sentence at the low end of
               the guideline range.
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